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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

  DANESH NOSHIRVAN, AN
  INDIVIDUAL;
              Plaintiff,
                                               Case No. 2:23-CV-1218-JES-KCD
        v.

  JENNIFER COUTURE, et al..,
              Defendants,
                                      /

                                     ORDER

        The undersigned has received several emails from an individual at the

  address noshirvan@yandex.com. Given the emails reference pending motions

  and appear ex parte, the Court has attached them here. The emails also

  contain several attachments, which seem to be motions. The Court has not

  (and will not) open the attachments due to security concerns. To the extent

  any party (or non-party) is seeking relief from the Court, a proper motion

  must be filed with Clerk’s office, not emailed to chambers.

        ENTERED this 11th day of April 11, 2025.
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   From:             Danesh Noshirvan
   To:               CA11db_Clerks Office; CHAMBERS FLMD DUDEK; jmagarin@duanemorris.com; sburns@duanemorris.com;
                     hwgurland@duanemorris.com; pnmendoza@duanemorris.com; jjfannin@duanemorris.com;
                     nick@chiappettalegal.com; pt@ptesq.com
   Subject:          Re: Emergency Application for Stay and Mandamus
   Date:             Friday, April 11, 2025 10:16:45 AM
   Attachments:      Recusal Motion.PDF


   CAUTION - EXTERNAL:

   It is extremely premature for Kyle Dudek to have engaged in such conduct to aide in or
   speculate as to the identities of John Does at this stage, yet he did so.

   We are now asking for his refusal.

   This document was sent this morning, from a new VPN address.

   This stays any anticipated decisions pending a ruling on this matter by the district Court.
   Further, the notices of Appeals, and the Mandamus Applications have already been filed, prior
   to any written decision on the John Doe matters, thus stayed the decisions based on those as
   well.

   Have a good weekend.

   Sadly my computer was stolen and I have had to relocate after getting threats as a result of
   Noshirvan's doxxing and rhe court sanctioned premature doxxing / speculation of the identities
   of John Doe.
   2:11 PM, April 10, 2025, Danesh Noshirvan <noshirvan@yandex.com>:

           It is hereby noted that the District Court Magastrate Judge no longer has any
           jurisdiction on these Motions to Quash having his on the bench decision to deny
           the motions appealed both by notice of Appeals, and by way of Writ of
           Mandamus.

           Any further orders on this matter by the district Court, until the Circuit Court
           rules, is voided as moot.

           Thank you for your time.

           1:57 PM, April 10, 2025, Danesh Noshirvan <noshirvan@yandex.com>:

                  Please find anonymous John Doe and John Doe 2 application for
                  Mandamus and request for stay, plus supporting documentation to be
                  filed with the court of Appeals 11th circuit.

                  Also, please note, this application was also docketed on the lower
                  court record. All parties have been served.

                  Thank you kindly,

                  John Does.
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        Sent from Yandex Mail for mobile



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   Sent from Yandex Mail for mobile
   CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution
   when opening attachments or clicking on links.
